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                                                                                                                                              Zoning and Land Use

                                                                                                                                              Tax Lots

                                                                                                                                              Zoning Districts

                                                                                                                                               Commercial Districts

                                                                                                                                               Manufacturing Districts

                                                                                                                                               Residence Districts

                                                                                                                                               Parks

                                                                                                                                               Battery Park City

                                                                                                                                              Commercial Overlays

                                                                                                                                               C1-1 through C1-5

                                                                                                                                               C2-1 through C2-5



                                                                                                                                              Basemaps

                                                                                                                                              Subways

                                                                                                                                              Building Footprints




  100 ft




INDIVIDUAL LANDMARK                                                                                      Add Another Tax Lot for Comparison

121 CENTRAL PARK WEST, 10023
                                                                                                   TAX LOT | BBL 1011250025
Manhattan (Borough 1) | Block 1125 | Lot 25




Zoning Districts:                R10A            R8B



INTERSECTING MAP LAYERS                  :                Owner                    Show Owner
  Historic District Upper West Side / Central Park West Historic
                                                          LandDistrict
                                                                 Use               Multi-Family Elevator Buildings
                                                          Lot Area                 40,866 sq ft
ZONING DETAILS:                                           Lot Frontage             204.33 ft
  Digital Tax Map                                         Lot Depth                200.17 ft
  Zoning Map: 8c (PDF)                                    Year Built               1884
  Historical Zoning Maps (PDF)                            Year Altered             2015
                                                          Building Class           Elevator Apartments - Cooperatives (Other Than
                                                                                   Condominiums) ( D4 )
                                                          Number of Buildings      1
                                                          Number of Floors         9.5
                                                          Gross Floor Area         309,608 sq ft
                                                          Total # of Units         83
                                                          Residential Units        83
                                                          Building Info                 BISWEB
                                                          Property Records              View ACRIS
                                                          Housing Info               View HPD's Building, Registration & Violation
                                                                                   Records
                                                          Community District            Manhattan Community District 7
                                                          City Council District         Council District 6
                                                          School District          03
                                                          Police Precinct          20
                                                          Fire Company            L025
                                                             Powered by ZoLa | zola.planning.nyc.gov | NYC Department of City Planning
                                                          Sanitation Borough      1
                                                                                                                                                                         Privacy - Terms
                                                          Sanitation District      07
